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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

W.R. Grace & Co., et al.,

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Debtors.

Chapter 11

Case No. 01-01139 (IKF)
(Jointly Administered)

Memorandum in Support of the Claimants’ Motion to Exclude
Dr. R.J. Lee’s Opinion on Cleavage Fragments

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I. INTRODUCTION
This Science Trial focuses on whether Grace’s Zonolite Attic Insulation product
(ZA) contains asbestos fibers that can be released during foreseeable use, thereby
contaminating building surfaces and creating a danger to those in the vicinity. ZAI was
manufactured from vermiculite mined at Grace’s Libby, Montana mine. Libby is a much
studied ore body:
1) Since the early 1920s, this mine has been the subject of numerous peer-
reviewed scientific studies analyzing the amphibole asbestos minerals in the

Libby vermiculite deposit.

2) In the 1950s, the State of Montana began investigating the incidence of
disease among workers at the Libby mine.

3) Beginning in the 1960s, Grace studied the asbestos contamination problem
associated with the vermiculite at the Libby mine.

4) In the 1980s, several medical/scientific investigations were performed
regarding the asbestos contamination problem at the Libby mine,

5) In the last few years, the Environmental Protection Agency (EPA) has
performed extensive investigations into the asbestos contamination problem in
the town of Libby and the problems associated with products manufactured
with Libby vermiculite.

All these investigations have concluded that Libby vermiculite is contaminated with
fibrous amphibole asbestos fibers, and that disturbance of the vermiculite results in the
release of airborne asbestos fibers. Yet Grace bas put forth Dr. R.J. Lee to dispute this
uniform authority.

When Grace was sued by the EPA over the Libby asbestos contamination, it had

few options. People were dying. The town was contaminated with asbestos. Some of

Grace’s usual experts refused to be involved, For instance, Dr. Morton Com, who has
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testified for Grace for two decades, refused to assist it in the Libby litigation,” Desperate
for some theory to fight liability, Grace approached its perennial tnicroscopy expert, Dr.
R. J. Lee. Dr. Lee conjured up a theory that everyone else had been wrong about Libby
for decades. It was not really an asbestos problem after all. Rather, Dr. Lee said, the
particles measured in Libby were 90% non-asbestos rock slivers called “cleavage
fragments” that were harmless.

Dr. Lee’s microscopic doubletalk went nowhere in the EPA litigation. The
District Court granted summary judgment against Grace on the bulk of the government’s
claim. Undaunted, Grace has called on Dr. Lee and his cleavage fragment theory again to
try to downplay the hazard of ZAI. According to Dr. Lee, 90% of the particles that come
from ZAL which others would measure as asbestos, are not really asbestos even though
they have the dimensions of asbestos fibers. Rather, says Dr. Lee, they are harmless
cleavage fragments. This testimony is “junk science” that should be excluded.

Il. HE LEGAL STANDARD

Federal Rule of Evidence 702 has three requirements for the admission of expert
testimony: (1) the witness must be an expert: (2) the witness must testify to scientific,
technical, or other specialized knowledge; and (3) the testimony must assist the trier of
fact. Dr. Lee intends to provide testimony that contradicts the facts, is unscientific and
unreliable, and will mislead rather than assist in determining the truth.

In Daubert y. Merreli Dow Pharmaceuticals, 509 U.S. 579 (1993), the United
States Supreme Court held that expert testimony is admissible under Rule 702 if “the

reasoning or methodology underlying the testimony is scientifically valid and ... that

' Attachment 1, Deposition of Morton Corn at 86:19 — 88:15 (May 29, 2003),
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reasoning or methodology properly can be applied to the facts in issue.” Id. at 592-93.
The Supreme Court set forth a non-exclusive list of four factors to guide the first part of
this inquiry, and the Third Circuit has expanded the list to eight:

(1) whether 2 method consists of a testable hypothesis; (2) whether the
method has been subject to peer review; (3) the known or potential rate of
error, (4) the existence and maintenance of standards controlling the
technique’s operation; (45) the method is generally accepted; (6) the
telationship of the technique to methods which have been established to be
reliable; (7) the qualification of the expert Witness testifying based on the
methodology; and (8) the non-judicial uses to which the method has been
put.

In re Paoli R.R. PCB Litig., 35 F.3d 717, 742 1.8 (3rd. Cir. 1994), cert. denied, 513 U.S.

1190 (1995). The inquiry into scientific validity and reliability is intended to be a flexible
one, and the enumerated factors “neither necessarily nor exclusively apply to all experts

in every case.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 142 (1999). However,

“any step that renders the analysis unreliable under the Daubert factors renders the
expert’s testimony inadmissible. This is tue whether the step completely changes a
reliable methodology or merely imisapplies that methodology.” In re Paoli, 35 F.3d at
745.

For two decades, Dr. Lee has testified as an expert witness for Grace in its
asbestos property damage litigation. In a last ditch effort to minimize the high airborne
asbestos concentrations that occur upon ZAT disturbance, Dr. Lee intends to testify that
over 20% of what all others have called asbestos fibers are nothing more than harmless

cleavage fragments from non-asbestiform amphibole rock.” Dr. Lee has taken two

? As described by Dr. Lee, “When non-ashestiform cleavage minerals such as amphiboles are crushed,
fragments are cleaved away from the main crystal mass, a process that produces ‘cleavage fragments.’ The
massive mineral will tend to fracture along sets of systematic planes within the mineral cérystal, and some
long, thin fragments may result, although the majority of fragments will be short, non-fibrous particles.”

Attachment 2, Richard J. Lee Report at 11 (April 15, 2003) (“Lee Report”).
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accepted methodologies for measuring airbome asbestos fibers and modified them to
produce an analytical protocol that: (i) has never been published in any peer-reviewed
journal; and (2) has not been accepted by the responsible regulatory authorities. Further,
Dr. Lee attempts to exclude over 90% of the asbestos fibers counted by Claimants?
experts in their ZAI simulation studies by using a mathematical equation that: (1) has
never been accepted by any governmental agency for distinguishing between populations
of asbestiform fibers and cleavage fragments; and (2) has been rejected by EPA.

Dr. Lee’s testimony does not “fit” the facts of this case. As discussed below, the
recognized method for distinguishing asbestiform fibers from cleavage fragments is by
looking at the overall population of the particles. In contrast, Dr. Lee has excluded
particles based on individual analysis using TEM. His methodology bas not been peer-
reviewed and has been created solely for litigation. The Occupational Safety and Health
Administration (OSHA) has indicated that one of the reasons it disapproves of individual
patticle analysis to distinguish cleavage fragments is because there is an unknown rate of
error.” No standards control the operation of Dr. Lee’s technique because Dr. Lee has
modified the existing standards to suit Grace’s needs. The technique has no relationship
to methods which have been established to be reliable, other than the fact that Dr. Lee has
modified reliable techniques to the extent that they are now unreliable.

Dr, Lee’s opinions are contrary to the peer reviewed consensus in the published
scientific literature and are contrary to Grace’s own conclusions. Moreover, Dr. Lee’s

opinions contradict his own testing and observations. His “cleavage fragments” do not fit

* Sce Attachment 3, 1992 OSHA Asbestos Standard, § IV - Mineralogical Considerations at 9 (stating that,
“when one looks at individual particles (e.g, particles from air sampling filters), sometimes these
mineralogical distinctions are not clear. Unfortunately, the data in the record is insufficient at this time to
precisely determine how often these situations occur.”).
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the dimensional criteria for cleavage fragments in the scientific literature. The
methodology on which he bases his testimony is directly contradicted by the entire
scientific community, including govemment agencies such as EPA and OSHA. Finally,
the reliability of Dr. Lee’s laboratory has been questioned by @ government investigative
audit.

For these reasons, Dr. Lee’s opinions conceming cleavage fragments should be
excluded.

Tt. DISCUSSION

in the spring of 2002, Grace commissioned a ZAI simulation study that involved
minor disturbance of ZAI at a home in New York. The airborne asbestos concentrations
resulting from this minor disturbance, which approached the OSHA Permissible
Exposure Limit of 0.1 fibers/cc, would have been significantly higher if Dr. Lee’s
laboratory had properly counted all asbestos fibers that had been collected. Instead, Dr.
Lee’s laboratory used its own untested and unpublished protocol to exclude over 90% of
the fibers that would have been counted as asbestos fibers by any laboratory that followed
accepted scientific protocols.

Claimants’ experts also performed a number of ZAI simulation experiments
involving various activities, such as vacuuming ZAT with an ordinary shop vac, removing
ZAI following a method recommended by Grace, and removing ZAI following a method
used by homeowners. They analyzed their samples using a standard analytical technique
known as the AHERA method. Without examining any of the Claimants’ air sample
grids, Dr. Lee opined that over 90% of the asbestos fibers detected in the Claimants’ ZAT

studies are really cleavage fragments. Dr. Lee bases his opinion on an algorithmic
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equation that he acknowledged has not been accepted by any governmental agency for
distinguishing between populations of asbestiform fibers and cleavage fragments.’ In
fact, Dr. Lee’s use of this equation was rejected by EPA in the Libby Superfund
litigation,?

As discussed below, Dr. Lee’s opinions Tegarding the amount of cleavage
fragments contradict: (1) the scientific consensus that airborne amphiboles from Libby
vermiculite are predominantly asbestiform in nature; (2) Grace’s own findings regarding
the fibrous nature of Libby amphiboles; (3) Dr. Lee’s own findings from his testing of
ZAT; and (4) the consensus of the scientific community on the dimensions of cleavage
fragments.

A Dr. Lee used a protocol that is unpublished and not peer reviewed.

Dr. Lee*s laboratory analyzed the Grace simulation studies by both light
microscopy (PCM), using the NIOSH 7400 protocol, and by electron microscopy (TEM),
using the NIOSH 7402 protocol. However, in an effort to exclude as many ashestos
fibers from the test results as possible, “the TEM procedure was slightly modified to fully
identify and enumerate the cleavage fragments (non-asbestos),"* Dr, Lee also analyzed

the air samples using an ISO Standard entitled, Ambient Air — Determination of Ashestos

Fibers — Direct Transfer Transmission Electron Microscopy Method.’ This standard

specifically cautions that it cannot be used, as Dr. Lee has used it, to label some particles

as “non-asbestos” forms of tremolite-

* Attachment 4, Deposition of Richard J. Lee at 217: 19-22 (June 6, 2003) (“Lee Deposition”).
7 Id. at 226: 5-16,
* Attachment 2, Lee Report at 34,

? Attachment 4.
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This international standard specifies a reference method using
Transmission Electron Microscopy for the determination of the
concentration of asbestos structures in ambient atmospheres and includes
measurements of the lengths, widths, and aspect ratios of the asbestos
structures. The method allows determination of the type(s) of asbestos
fibers present. The method cannot discriminate between individual Jibers
of the asbestos and non-ashestos analogues of the same amphibole
mineral.*

The ISO method defines a fiber as “[a]n elongated particle which has parallel or
step sides. For the purposes of this international standard, a fiber is defined to have an
aspect ratio equal to or greater than 5:1 and a minimum length of 0.5 microns.”” Dr. Lee
modified this protocol by using a flow chart he produced at his deposition. This flow

chart, entitled Determination of Cleavage/Asbestiforms and dated August 31, 2001, is

labeled “Draft ~ Privileged and Confidential Work Product.”" Dr. Lee’s protocol
involves the analysis of individual fibers by TEM. in order to eliminate fibers, Dr. Lee
has selected criteria which are not supported by scientific data.

To Claimants’ knowledge, Dr, Lee’s protocol has never been published in a peer-
reviewed journal, and it has not been accepted by OSHA or EPA. Further, there is no
indication of the rate of error in using this protocol. The generally accepted method for
distinguishing fibers from cleavage fragments is to view populations of particles as a
whole. OSHA has stated, “While one can differentiate between mineral types when

populations of particles are examined, when single, isolated particles are exatnined (e.g.

5 Td. at 1.
9 Id. at 3.

'” Attachment 6 at 2-3.
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particles from air samples) the ability to differentiate may become more difficult.”!!

OSHA concluded:

In summary, the discussion indicates that populations of fibers and

populations of cleavage fragments can be distinguished from one another

when viewed as a whole. For example, one can look at the distribution of

aspect ratios or even widths for a population of particles and can then

generally identify that population of particles as being asbestiform or non-

asbestiform. However, when one looks at individual particles (e.g.

particles from air sampling filters), sometimes these muneralogical

distinctions are not clear. Unfortunately the data in the record is
insufficient at this time to precisely determine how often these situations
occur,”

OSHA, directs analysts te look for populations of fibers that have the dimensions
of asbestos because only the asbestiform habit would produce a population of particles
with the appropriate dimensions. “Therefore, we are really analyzing for the habit of
amphibole asbestos, not for a particular particle size and shape.” As discussed below,
the population of particles excluded by Dr. Lee as cleavage fragments does not fit the
dimensions specified for cleavage fragments in the published scientific literature. Rather,
looking at these particles appropriately as a population, they are clearly asbestiform.

Dr. Lee’s recent attempt to analyze individual particles and classify them as
asbestiform or non-asbestiform is also contrary to the view he has expressed elsewhere.

In April 2003, the National Stone Association published a document co-authored by Dr.

Lee entitled The Asbestifonn and Nonasbestiform Mineral Growth Habit and Their

*' Attachment 3, 1992 OSHA Asbestos Standard, § IV- Mineralogical Considerations at 7.
2 Id. at 8.

"? Attachment 7, Ann Wylie, Habit of Asbestiform Am hiboles: lications for the Analysis of Bulk

Samples, Advances in Environmental Measurement Methods for Asbestos, ASTM STP 1342 at 60 (MLE.
Beard and H.L. Rooks, Eds. 2000).
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Relationship _to Cancer Studies." This document was prepared “to help people
understand who are not in the aggregate industry what the difference between asbestiform

and cleavage — rock forming amphiboles are...”'* The authors state:

Morphological properties are difficult to apply to single particles when
classifying them as a Cleavage fragment or a fiber. Distinctions on
morphology are most reliably made on populations. Furthermore, in air
and water samples, in which particles are often less than 5 um in length,
the presence of asbestos should be verified in bulk Material at the source
before identification of particles as asbestos can be reliably made. Bulk
materials display the full range of distinctive morphological
characteristics, but in fibers collected from air and water, the tange of
morphological properties is more limited.'°

Elsewhere in the article, Dr. Lee described Libby vermiculite as associated with
“Clear Amphibole Asbestos Exposures”."’ Dr. Lee’s article casts doubt on the
reliability of his current attempt to minimize the asbestos content from Libby

vermiculite.

B. The consensus in the scientific community is that Libby amphiboles are
fibrous and asbestiform in nature.

In the early 1980s, Dr. J. C, McDonald was hired by Grace to perform an

epidemiological study of Grace Libby workers. After evaluating the Libby asbestos and

its history, Dr. McDonald concinded:

It is well established that the vermiculite deposit in Libby is contarninated
by asbestiform fibres. Their presence in airborne dust was first mentioned
in 1956 in the report of an industrial hygiene survey by the Montana State
Board of Health but only recently has further information become
available on the nature of Libby fibres.

A systematic study by analytical transmission electron mictoscopy of
airbome fibres collected on membrane filters in various locations of the

* Attachment 8,
'S Attachment 4, Lee Deposition at 8:3-10.
'* Attachment 8 at 5 (cmphasis added).

7 Id at 56.
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mine and mill is now in Progress. Preliminary findings on samples from
the wet mill indicate that fibres exhibit several morphologies. They may
be straight with uniform diameter, have a lath or needle shape, or be
curved; they may be found intermingled with other platy particles (fig. 1).
So far, the ranges for diameter, length, and aspect ratio are 0.1-2 um, 1-70
um, and 3-100 um respectively. A fairly high proportion (62%) of fibres
has been found longer than 5 um. Comparison of electron and optical
imicroscope counts shows that about a third of the total airborne fibres are
detected by the optical technique used for measuring exposure to asbestos
at the work place, '8

Dr. McDonald reiterated in a later article that “[t]he Montana deposit was heavily
contaminated by asbestiform fibre in the tremolite series.”!”

The scientific consensus that Libby amphiboles are predominantly fibrous and
asbestiform in nature wag reflected in the Preamble to the 1992 OSHA Asbestos
Standard, which contains the OSHA conclusion that the Libby amphiboles are mostly
asbestiform:

[Libby] [vJermiculite, a mica-like ore, was contaminated with four to six

percent tremolite-actinolite fibers. Mineralogic analysis of the Libby

mine’s ore showed the fibers to be mostly an asbestiform type of fiber.

However, there were also massive amphibole crystals, which when

pulverized produced cleavage fragments resembling fibers ... Although

the fiber analyses indicate that some of the particles were non-asbestiform

in origin, the predominant fiber exposure appears to be from asbestiform

tremolite ...*

Dr. Lee attempts to turn these findings on their head by claiming that the Libby
amphibole is really 90% non-asbestos,

More recently, a Blue Ribbon panel of more than 100 technical and policy experts

and other key stakeholders frorg government, academia, and the private sector evaluated
“* Attachment 9, J.C. McDonald, et al., Cohort study of mortality of vermiculite miners exposed to
fremolite, British J. of Ind. Med., at 439 (1986) (emphasis added).

!? Attachment 10, J. C. McDonald, et al., Health of vermiculite workers exposed to trace amounts of fibrous
tremolite, British J. of Ind. Med. at 630 (1988),

*° Attachment 3, 1992 OSHA Asbestos Standard, § V ~ Health Effects (emphasis added).

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the use and management of asbestos. In its April 2003 report, entitled Asbestos

Strategies, Lessons Learned About Management and the Use of Asbestos, the panel

noted:

In recent years, much attention has focused on the vermiculite-mining
district near Libby, Montana. Concern has also been expressed about
exposures to users of products consisting of vermiculite from this location.
The Libby vermiculite deposits have been reported to be significantly
contaminated with asbestiform amphiboles .,.7!

Only Dr. Lee believes otherwise.

Cc. W.R. Grace investigated and concluded that Libby amphiboles are fibrous
and asbestiform in nature.

W.R. Grace conducted extensive studies of the amphibole asbestos contamination
of its Libby vermiculite and concluded that the tremolite from Libby vermiculite is
fibrous and asbestiform in nature. For example, in an April 24, 1979 draft response to an
inquiry from the Consumer Products Safety Commission, Grace noted that the “Tremolite
present in finished products made from Libby vermiculite concentrate is fibrous ...°22
Moreover, Grace discussed internally the airborne exposures from Libby vermiculite
asbestos fibers. In a May 24, 1977 memorandum, Elwood Wood, General Manager of
Grace’s Consumer Products Division, stated, “The exposure problems we have seen to
date are limited to the fibrous type of tremolite that occurs in the Libby ore.” Ina May
12, 1983 letter to the R.T. Vanderbilt Company, Henry Eschenbach, the head of Grace’s

Health, Safety, and Toxicology Department, wrote:

7! Attachment 11 at 16,
= Attachment 12 at 1.

23 Attachment 13 at 3.

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Attached is a copy of our 8(e) submission to the EPA on the health effects

of asbestiform tremolite in our Libby, Montana operation. As [ indicated

to you on the phone, the remolite causing our problem is clearly an

asbestiform material which, when examined using phase contrast

microscopy, looks somewhat like classical crocidolite or amosite. It is in

no way similar to the blocky inferior stuff which you people persist in

passing off as tremolite.**
Yet, Dr. Lee now claims that Libby tremolite is a 90% blocky, non-asbestos population,

Dr. Lee’s revisionist views ignore the fact that Grace had an expeit microscopist,
Dr, Julie Yang, who was at Johns-Manville before heading up Grace’s laboratory. She
Was very familiar with what asbestos looked like. Ina September 16, 1983 report entitled
Chemistry of Vermiculite and Asbestos, Dr. Yang provided photographs of asbestos and
non-asbesios tremolite.2° The non-asbestos tremolite has a very blocky appearance,
whereas the asbestiform tremolite looks like the fibers observed in the air samples
collected in all of the ZAI studies. In her deposition in the EPA Libby Superfund
Litigation, Dr. Yang, who had studied Libby for decades, reiterated that the Libby

product contains mostly fibrous tremolite-

Q. Dr. Yang, are there generally fibrous and nonfibrous tremolite fiber in
materials that we have just discussed: that is, expanded material
concentrate?

A. Inall Grace product or in vermiculite product or in what?

Q. Let's take them one at a time, if we might. Ore concentrate coming from
Libby, are there fibrous and nonfibrous tremolite?

A. Mostly fibrous material. Fibrous tremolite in Libby product.*®

** Attachment 14 (emphasis added).

25 Attachment 15.

* Attachment 16, Deposition of Julie Yang in U.S. v. W. ce & Co. at 63: 3-17 (Aug. 21, 2002).

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D, Dr. Lee’s opinion contradicts the findings of his own laboratory.

1. Dr. Lee’s laboratory found predominantly asbestiform tremolite in
ZAI,

The R.J. Lee Group collected five bulk samples of ZAI from the home in New
York.*” The laboratory separated each sample into sub-samples, representing the top,
middle, and bottom of the ZAI, as found in the attic* In addition, the laboratory
separated each sub-sample into two patticle sizes, greater than 500 microns and less than
500 microns.” The purpose of the separation was presumably Dr. Lee’s view that the
smaller particles are more likely to contain respirable fibers that can become airborne.”
Dr, Lee’s laboratory then analyzed the samples using PLM as outlined in EPA/600/R-

93/116, Method for the Determination of Asbestos in Bulk Building Material.*!

The laboratory determined the amount of asbestiform and non-ashestiform
amphiboles in each of the samples, finding that the amount of asbestiform tremolite in the
sub-sample consisting of particles that were 500 microns or greater in size ranged from
0.5% to 2.63%. In the “500 microns or greater” sub-sample, Dr. Lee generally found a

greater amount of asbestiform tremolite.? For example, in the sample which was found

*” Attachment 17, R, J. Lee Group Project Report at 4.

23 Id

29 Id.

*° Attachment 4, Lee Deposition at 76:5-22, 79:27; see also Attachment 2, Lee Report at 25. Claimants
disagree with Dr. Lee’s conclusion. Asbestos bundles greater than $00 microns in size are highly friable
and capable of breaking up into respirable sized fibers when disturbed.

3! See Attachment 17 at 1.

22 Attachment 17 at 4,

* Attachment 4, Lee Deposition at 74:18:21.

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to contain a total of 2.63% asbestiform tremolite in the larger particles, the amount of

asbestiform versus non-asbestiform tremolite was as follows:**

Asbestiform tremolite Non-asbestiform tremolite
Top layer 1.4% 0.1%
Middle layer 2.9% 1.8%
| Bottom layer 3.4% 3.2%

This chart shows that there was more asbestiform tremolite than non-asbestiform
tremolite in each Jayer. Yet Dr. Lee now claims that 90% of the tremolite as a whole 1s
non-asbestiform. This makes no sense.

Dr, Lee’s laboratory also analyzed the other sub-sample of fine dust that was less
than 500 microns in size, using a point counting technique. This technique allows the
analyst to calculate the percentage of asbestiform and non-asbestiform particles. The
form used to document the analysis has blocks for reporting asbestiform and non-
asbestiform fibers.** For these samples, Dr. Lee’s laboratory found between 0.36 and
0.85% asbestiform tremolite/actinolite, Dr. Lee’s laboratory reported no non-asbestiform
tremolite in any of these samples.*° The samples Were each noted to be homogenous, and
the only other particles noted were vermiculite opaques.”’ Yet Dr. Lee now claims 90%
of the particles from ZAI are non-ashestiform,

Dr. Lee’s own analysis demonstrated that there was a fibrous asbestiform
population of amphiboles in the fine dust: (1) the samples of ZAI contained as much as

2.59% amphiboles; (2) the coarse material contained a greater percentage of asbestiform

* Attachment 17 at 4,
*§ Attachment 17.
* Attachment 4, Lee Deposition at 94: 1-21.

7 td at 99: 1-12,

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than non-asbestiform amphiboles; and (3) the fine material contained only asbestiforn
amphibole fibers. Dr. Lee’s subsequent opinion, based on his unsupported protocol, that
over 90% of the particles counted in Grace’s ZAI study (and every other ZAI study) are
non-asbestiform cleavage fragments is clearly unsupported and conirary to the facts.

2. Even using extreme measures, Dr, Lee’s laboratory could not produce
large numbers of non-asbestiform cleavage fragments from Libby
tremolite.

Dr. Lee’s current opinion is inconsistent with the known propensity of
asbestiform tremolite to fragment into fibers and become airborne, while non-asbestiform
fremolite will not do so readily. Libby amphibole asbestos bundles are highly friable and
readily separable into fibers. Libby’s non-asbestiform rock does not break down readily,
In fact, Dr. Lee’s laboratory could not break it down into respirable particles by hitting it
with a hammer and concluded that it could not become airbomne.?8

This difference in ability to aerosolize was known to Grace. Grace consistently
observed that the asbestiform amphiboles were highly friable and likely to break up into

respirable particles. For example, in an April 8, 1976 internal Grace report, entitled

Characterization and Preparation of Respitable Sized Tremolite Fiber and Vermiculite for

Animal Studies, Dr. Yang noted that “the Tremolite bundles are ... soft, and sometimes

waxy in touch. They broke down easily to fine fibrils when degraded ...""" In her report,
Dr. Yang observed the difference between the tremolite rock and the soft tremolite

bundles, and noted that the fibers “are quite different than the tremolite found in

+8 Attachment 2, Lee Report at 27,

** Attachment 18 at 2.

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associated veins in rock form; they are generally harder and harsher, most of which were
removed in the floatation process,’

In an October 4, 1976 memorandum, Grace’s Vice President of Manufacturing
and Engineering, J.W. Wolter, discussed options for temoving the Libby amphiboles and
described the two types:

We felt that tremolite js basically of two types — one that is relatively

tocky and does not fragment or does not show a high degree of friability

and this material we would probably have to separate through a series of

roll screenings. We also notice that some tremolite is both fibrous and

very friable and likely to break down.*!

Just as Grace knew two decades earlier, Dr. Lee concluded that ZAI contained
both fibrous and non-fibrous tremolite. His Jaboratory calculated the fibrous tremolite to
be approximately 50% of the total tremolite in the ZAI He also separately concluded
that the remaining non-fibrous tremolite could not be broken down into particles
resembling fibers even when he smashed the tremolite with a hammer. Thus, the non-
fibrous tremolite could not release fiber-like particles into the air,

Nevertheless, Dr. Lee now claims that when the ZAI was disturbed during the
attic testing, the fibrous tremolite somehow “stayed put,” while the non-fibtous tremolite,
(which Dr. Lee contends cannot be fragmented even with a hammer), somehow launched
90% of the airborne particles. But there is no physical explanation why the fibrous
tremolite would resist becoming airbome, while the non-fibrous tremolite could Jaunch
enormous numbers of “cleavage fragments” into the air with minimal disturbance of the

ZAI,

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“| Attachment 19.

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Dr. Lee’s microscopic manipulation simply does not “fit” with any other Libby
vermiculite measurements over the past fifty years (including those by Grace, EPA, and
other Grace experts). Nor does it fit with Dr. Lee’s own bulk sampling data. Simply
Stated, a product that is more than half fibrous tremolite cannot launch 90% non-fibrous
particles into the air. At a bare minimum, and assuming that fibrous and non-fibrous
tremolite became aerosolized at the same rate (which does not happen because the fibrous
tremolite aerosolizes much more easily), at least 50% of the tremolite in the air would be
fibrous tremolite. Dr. Lee’s “disappearing act” for the fibrous tremolite defies logic. For
this reason alone, Dr. Lee’s opinions Tegarding cleavage fragments should be excluded.

E. Dr. Lee’s “cleavage fragments” do not fit the diameter of cleavage fragments
in the published scientific literature.

Dr. Lee agreed in his deposition that the vast majority of cleavage fragments
found in nature are greater than one micron in diameter.” This is supported by OSHA,
Which specifically states, “Most cleavage fragments of the asbestos minerals are easily
distinguishable from the asbestos fibers. This is because true cleavage fragments usually
have larger diameters than 1 micron.” As discussed in the affidavit of Dr. Longo, the
fibers that Dr. Lee categorizes as cleavage fragments are predominantly one micron or
less in diameter. In fact, 69% of the fibers that Dr. Lee calls “cleavage fragments” are

one micron or less in diameter.“ Eighty percent of all particles counted by the R.J. Lee

“ Attachment 4, Lee Deposition at 216:12-20,

© Attachment 20, OSHA Polarized Light Microscopy of Asbestos, Method ID)-191 at 9 (1992).

™ Attachment 21, Wiliiam Longo Affidavit at Par. 10 (“Longo Affidavit”).

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Group are one micron or less in diameter. For all fibers counted by MAS, 92% are one
micron or less in diameter,** Once again, this clearly contradicts Dr. Lee’s findings.

F, Dr. Lee’s “cleavage fragments” do not fit the aspect ratio of cleavage
fragments in the published scientific literature,

Dr. Lee has agreed with the scientific consensus that “[pJopulations of cleavage
fragments and populations of asbestos fibers can be distinguished from one another when
viewed as a whole, because cleavage fragments are likely to be thicker and shorter than
asbestos particles, and will therefore have lower aspect ratios."° The aspect ratio of a
fiber is its length to width ratio. Longer and thinner fibers have higher aspect ratios.
Cleavage fragments are usually “blocky” (shorter and thicker). As discussed below, the
published, peer-reviewed, scientific literature demonstrates that cleavage fragments
generally have an aspect ratio of less than 10 to 1. As stated in Dr. Longo’s affidavit and
acknowledged by Dr. Lee, the fibers that Dt. Lee excluded as “cleavage fragments” have
an average aspect ratio exceeding 20 to 1. This is much higher than the minimum fiber
aspect ratios designated by OSHA (3 to 1) and EPA (5 to 1), ie., the fibers Dr. Lee
excluded as cleavage fragments are much thinner and longer than cleavage fragments
would be. The excluded particles are in the classic fiber range.

While the aspect ratio has little mineralogical significance for individual
particulates, it is a well-established way to distinguish between ashestiform and non-

asbestiform populations.*” In Dr, Lee’s April 2003 publication on the mineralogical

* Attachment 21, Longo Affidavit, Attach. F.

“ See Attachment 2, Lee Report at 12,

" See Attachment 22, Campbell, et al., Selected Silicate Minerals and Their Asbestiform Varieties at 44,
Bureau of Mines Information Circular (1977).

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differences between asbestos fibers and cleavage fragments, he recognized that long,

patticles describe a fibrous population:

[T]he aspect ratio concept, when used with caution, can be useful in
distinguishing the asbestiform or nonasbestiform nature of a given dust
population. Due to the tendency of asbestiform fiber bundles to separate
into thinner and thinner fibers when pressure is applied (i.¢., ground), the
aspect ratio tends to remain high. In contrast, because nonasbestiform
minerals break or cleave in a more tandom fashion, few relatively long,
thin particles are produced, _Nonashestiform dust populations will,

therefore. generally retain low aspect ratio characteristics

thin

The scientific consensus is that to the extent particles can cleave from non-

asbestiform tremolite rock and take the shape of elongated fragments, they generally have

aspect ratios of less than 10 to 1, For tremolite-actinolite asbestos, EPA states that

“cleavage fragments may be present with aspect ratios < 10 to 12"? Dr. Igren, another

Grace expert, agreed that cleavage fragments do not have average aspect ratios as high as

20:1 (as Dr. Lee contends):

Q. Let’s talic about aspect ratios. Again, I know it’s hard to put an average on this,
but just tell me generally if you could what you would expect to find in terms of

an aspect ratio for cleavage fragments.

A. [think they’re largely less than 20:1, probably more in the 10:1,

Q. Would you say that you would find more cleavage fragments with an aspect ratio

less than 10 to 1 than you would greater than 10 to 1?

A: I would think so, sure. Just by nature of their mode of growth, it would
stand to reason. ,,.7”

* Attachment 8, RJ, Lec, et al., Ashestiform and Nonasbestiform Mineral Growth Habit and Their
Relationship to Cancer Studies at 12 (Apr. 2003).

* Attachment 23, BLL. Perkins, et al., Method for the Determination of Asbestos in Bulk Buildin
Materials, EPA/600/R-93/116 at 2, 19, table 2-2 (July 1993).

* Attachment 24, Deposition of Edward Tgren at 127:12-23 (May 22, 2003).

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Dr. Igren’s view that cleavage fragments most often have a 10 to 1 aspect ratio or less is
directly contrary to Dr. Lee's assertion that the particles he counted with a 20 to 1 aspect
ratio are cleavage fragments.

Other researchers have published their findings that tremolite cleavage fragments ate
typically very short and blocky. Campbell evaluated milled tremolite and found that 70%
of the tremolite cleavage fragments had an aspect ratio of less than 3 to 1, and 95% of the
tremolite cleavage fragments had an aspect ratio of less than 10 to 1.7! He included
photomicrographs that graphically depict the difference between asbestiform and non-
asbestiform tremolite. The particles that Dr. Lee identifies as ZAI cleavage fragments
look very much like the asbestiform tremolite and very little like the cleavage fragments
in Campbell’s study. **

In an article published by the National Bureau of Standards in 1980, Dr. Lee
himself proposed a working definition for asbestos using the electron microscope to
eliminate non-ashestiform particles.*? Dr, Lee’s proposal incorporated a minimum aspect
ratio of 10 to 1 to eliminate most cleavage fragments:

For a routine method, a minimum aspect ratio of 10:1 should be used in a

screening analysis or survey. Existing data indicate that this would not

affect the chrysotile analysis at all and amphibole analysis only when the

sample contains a significant percentage of acicular nonasbestos particles

... While this would undoubtedly result in missing 5 to 20 percent of the
short asbestos particles, it would elitninate_70 to 80 percent of the

nonasbestos particles from consideration.“
5! Attachment 25, Campbell, ct al., Relationship of Mineral Habit to Size Characteristics for Tremolite
Cleavage Frapments and Fibers, Bureau of Mincs Report of Investigations 8367 at 13 (1979).

* See id. (displaying photomicrographs throughout article which depict asbestiform and norn-asbestiform
particles),

* Attachment 26, RB. J. Lee, et al., Considerations in the Analysis and Definition of Asbestos Usin:
Electron Microscopy, National Bureau of Standards Special Publication 619 (Mar, 1982).

** Id. at 136,

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In contrast to Dr. Lee’s published work saying that a 10:1 aspect ratio would eliminate
70-80% of the non-asbestos particles, he now claims that most non-ashestos particles are
tauch longer, with a 20:1 average aspect ratio.

Grace investigated the cleavage fragments associated with its Libby vermiculite
and also concluded that the cleavage fragments generally had an aspect ratio of less than
10 to 1. In a May 24, 1984 ietter to OSHA, Grace noted that “[t]he Libby ore body
contains tremolite asbestos as well as non-asbestiform tremolite as contaminants."°°
Grace recognized that the non-asbestiform amphiboles can exist as “crystalline or blocky
mineral forms” and noted:

It is not uncommon for some of these blocks or chunks to appear in a

microscope as particles with an aspect ratio of 3 to 1. However, they are

clearly not fibrous. Clarifying the definition would exclude these
materials from fiber counts and make monitoring results more precise.*®
Grace proposed raising the aspect ratio to 5:1 or 10:1, to eliminate cleavage fragments
from being counted. Grace stated:

Grace also supports a change in the aspect ratio to at least 5 to 1 and

preferably 10 to 1. Frequently, particles having a 3 to 1 ratio are clearly

not fibrous, but must be counted to technically comply with the present

standard. We believe instituting a higher ratio will also increase the

Precision of real-fiber counting.”

Yet Dr. Lee now claims that particles Grace told OSHA would be “real fibers” at a 10:1

aspect ratio are actually cleavage fragments.

* Attachment 27 at 1.

Td. at 2,

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Dr. Ann Wylie also proposed raising the aspect ratio from 3:1 to 10:1 as a means
of discriminating between asbestos fibers and non-asbestiform cleavage fragments:

Dr, Wylie stated that for particles which ate greater than 5 microns in

length, the majority of non-asbestiform particles have aspect ratios less

than 10:1 and the majority of asbestos particles (i.e. fibers) have aspect

ratios greater than 10:1. Thus she concluded that changing the aspect ratio

from 3:1 to 10:1 provides a means of excluding non-asbestiform particles

from particle counts while Maintaining the same asbestos particle counts

one would have obtained using the 3:1 aspect ratio8

As set forth in the affidavit of Dr. Longo, the average aspect ratio for all particles,
counted by both the R. J. Lee Group and MAS in the ZAY studies, is 24 to 1.9
Additionally, the average aspect ratio for all fibers which Dr. Lee claims to be “cleavage
fragments” is 22 to 1, Further, approximately 84% of all fibers counted by the R. J. Lee
Group have an aspect ratio of 10 to 1 or greater *! Seventy-three percent of all particles
that Dr. Lee identified as “cleavage fragrnents™ have an aspect ratio of 10 to 1 or
greater.” For the MAS data, approximately 85% of all fibers have an aspect ratio of 10
to 1 or greater.*? ATI these findings are clearly consistent with an asbestiform population
of fibers and totally inconsistent with Dr. Lee’s opinion that over 90% of the particles are
cleavage fragments.

Dr. Lee states that the non-asbestiform cleavage rock is: (1) similar to non-

asbestiform amphiboles found in Shiness, Scotland: and (2) different from asbestiform

™ Attachment 3, 1992 OSHA Asbestos Standard, §VI - Other Regulatory Issues at 6 (1992).
” Attachment 21, Longo Affidavit at 10, 21.

Td. at 10.

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tremolite found in Jamestown, California. The Shiness material has never been shown
to have any biological effects, while the Jamestown material has repeatedly been shown
to be highly potent. In his National Stone Association publication, Dr. Lee describes
the characteristics of the non-asbestiform tremolite from Shiness and the asbestiform
tremolite from Jamestown.®* Dr. Lee noted that “the Shiness tremolite dust was almost
exclusively composed of cleavage fragments, only a small portion of which had an aspect
ratio greater than 3:1.”°7 On the other hand, the Jamestown asbestiform tremolite had
aspect ratios almost identical to those measured by the R. J. Lee Group and MAS. For
the Jamestown asbestiform tremolite, 82% of the fibers had an aspect ratio of greater than
10 to 1." This is compelling proof that the population of airborne fibers from ZAI is
asbestiform in nature and demonstrates that Dr. Lee's opinions are scientifically
wnsupportable.

G. EPA has rejected Dr. Lee’s opinions regarding cleavage fragments from
Libby vermiculite.

As previously noted, Dr, Lee first conjured up his “cleavage fragment” defense
when he was retained by Grace as an expert in the EPA Libby Superfund case, In that
case, Dr, Lee opined that 74% of fibers counted by another NVLAP (National Voluntary

Laboratory Accrediting Program) certified laboratory were harmless cleavage

" Attachment 2, Lee Report at 29,
65 Id.

*$ Attachment 8, Ashestiform and Nonasbestiform Mineral Growth Habit and Their Relationship to Cancer
Studies at 25 (Apr. 2003). ,

"Td. at 52.

"Id. at 25, As discussed above, the R. J. Lee Group found 84% of all fibers counted had an aspect ratio
greater than 10 to 1, and MAS found that 85% had an aspect ratio greater than 10 to 1,

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fragments. An EPA toxicologist, Dr. Weis, evaluated Dr, Lee’s opinions regarding
cleavage fragments and concluded, “in short, R.J. Lee misrepresents the findings of peer
Teviewed papers that he used to reference his position, and this misrepresentation
undermines the validity of his conclusions.”” In jts response to Grace’s position papers,
EPA rejected Dr, Lee’s opinions regarding cleavage fragments:

Dr, Lee’s statements about the inappropriate counting of cleavage
fragments do not have merit. EPA has counted asbestiform fibers and
sttuctures pursuant to the counting criteria of the methods being
implemented. The counting criteria dictate discerning fibers by length,
width, aspect ratio and specific physical characteristics. Following these
Tules, the EPA laboratories have consistently reported to EPA, that the
fibers found in air samples collected are populated almost exclusively with
Libby amphibole fiber. (See Reservoirs and EMSL memorandums on this
issue in the Administrative Record.) EPA, USGS and several other
researchers (including researchers for WR. Grace) have evaluated the
nature of the mineral habit of the Libby amphibole asbestos in the Libby
vermiculite. With the exception of Dr. Lee, these researchers have ail
concluded that the amphibole population is Jibrous in nature. They all
also agree that the amphibole asbestas in Libby vermiculite is quite
Sriable, giving off airborne Jibers when disturbed. Such research has been
petformed by Dr. Julie Yang of WR. Grace, Greg Meeker of USGS,
Arthur Langer, Dr.’s McDonald and Sebastien at McGill University, Dr,
Amandus at NIOSH, Dr. Wake of the State of Montana, and others, Also,
EPA has found that the size and shape of fibers seen today, whatever their
make-up, are similar to those to which workers were exposed to in Libby
in the past (see discussion in Section D below). These fibers clearly have
been associated with asbestos-telated disease in Libby and there is no
basis for excluding them from exposure estimates. In fact, Dr. Lee's
assertion that EPA has included a large number of cleavage Jragments in
its exposure estimates is without any factual foundation. While Dr. Lee
discusses a few studies on the toxicological effects of fibers of different
length and width, he offers no concrete criteria on how he defined a
cleavage fragment. His determination is contrary to the information which
has been presented to EPA and to the regulatory and methodological
frameworks established for asbestos assessment”!

* Attachment 28, Lee Report in US. v. W. R. Grace & Co., at 86 (July 29, 2002).

” Attachment 29,

”) Attachment 30 at 13 (emphasis added).

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In the EPA Libby Superfund litigation, the District Court ignored Grace’s
arguinents based on Lee’s opinions and granted the EPA summary judgment on the
reasonableness of EPA’s response actions.”

H. The results from Dr. Lee’s laboratory are unreliable,

Dr. Lee’s willingness to make whatever “laboratory findings” Grace needs is
tepreseritative of a broader problem of scientific unreliability. On April 9-10, 2001, the
federal government conducted an on-site investigative audit of Dr. Lee’s laboratory in
California.” The report noted:

The primary purpose of this non-routine audit was to investigate
discrepancies between the PLM tesults reported by the R. J. Lee Group,
Inc. and those reported by the quality control laboratory, Forensic
Analytical. Two sets of pulverized rock samples wete received by the R.J.
Lee Group, Ine. from the Department of Toxic Substances Control
(DTSC) and later forwarded to Forensic Analytical. Both laboratories
prepared and analyzed the samples in accordance with the California Air
Resources Board (CARB) Method 435, However, the results reported by
the two laboratories for several samples showed significant variance,
including some that differed by nearly a factor of twenty (20) ...

The complete training records for the laboratory personnel involved in the
handling, preparation, analyses, and reporting of possible ACMs were not
available to the auditors during the laboratory investigation. The training
records for all employees and all QA/AC records are maintained by the
QAO at the corporate office, and although partial training and ac/ac
[sic] records were submitted to the auditors by facsimile upon request, the
records were incomplete. The requirement that training records for
employees be maintained at the facility in which they work is described in
Section 4.1 of the PLM QAPP, Also, Section VI of SOP 31 states, “all
records kept by the QA unit shall be kept in one location at the laboratory.
Laboratory management stated to the audit team that al! microscopists are
required to have a formal/advanced education in a related field. However,
no such training records were provided to the audit team confirming the
analysts’ credentials.”

” Attachment 31, Order in U.S. v.W.R. Grace & Co. (Dec. 19, 2002).

” Attachment 32, EPA. Summary On-Site Audit Report, RB. J. Lee Group, Inc. (May 1, 2001).

™ Ta. at 1-3.

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The auditors concluded that “[t]he overall evaluation of the laboratory revealed
procedural weaknesses with regard to a lack of on-site QA/QC program, compliance with
laboratory SOPs and methodology, sample handling, record keeping, and incomplete
documentation of analytical results.275

Most recently, EPA has issued a notice to all EPA regions urging caution when
using the R.J. Lee Group as a result of the discrepancies discussed in the audit.” EPA

stated:

The purpose of this memorandum is to encourage Superfund tegional
project managers to thoroughly review any site management decision for
asbestos contaminated sites where analytical data generated by asbestos
testing laboratories associated with RJ Lee Group, Inc. were critical ...
Issues documented in the onsite audit inchide, but are not limited to the
following:

e Lack of appropriate laboratory specific Standard Operating
Procedures (SOP) describing precise laboratory procedures,
especially for operations that may be modifications or
deviations ftom published methodology ...

. Failure to adequately perform method-required Quality
Assurance (QA) analyses, Methods require laboratories to
analyze sample duplicates and QA reference slides at specified
frequencies. The laboratory failed to perform QA analysis at
the frequencies detailed by the methods. The laboratory was
cited for this failure during a 1999 internal QA audit, but has
failed to provide appropriate corrective action wee

* Lack of supervisory review of analytical data.

° Lack of documentation supporting credentials and traning of
analysts.

° Inconsistencies in client reports in which reported results do

not match raw data ...

Td. at 8.

* See Attachment 33, EPA Memorandum from Michael B. Cook to Superfund Regional Managers (June
19, 2003).

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Further, there is concern that questionable practices observed at the San
Leandro facility may also reflect the procedures used at other RJ Lee
Group testing laboratories throughout the United States. Therefore,
OERR is recommending that Regions review data for ali RJ Lee Group
testing facilities that may have been involved in testing of asbestos
samples, including samples of vermiculite products or raw ore which may
have come from Libby, Montana, and may be contaminated with
asbestos. 7

A prime example of such “questionable practices” is Dr. Lee’s manipulation of scientific
techniques to try to “spin” asbestiform fibers into cleavage fragments. This may be an
effort worthy ofa fairy tale, but not the courtroom, This testimony should be excluded.

IV. CONCLUSION

Dr. Lee’s testimony concerning cleavage fragments should be excluded because it
is unscientific and unreliable. Dr. Lee utilized an unpublished, unauthorized analytical
protocol in an attempt to minimize fiber counts. All of the fibers excluded by Dr. Lee
meet the dimensional criteria of asbestos. The consensus in the scientific community is
that Libby amphiboles are fibrous and asbestiform in nature. Dr. Lee’s opinions
contradict Grace’s own conclusions and the findings of Dr. Lee’s laboratory. Further,
Dr. Lee’s opinions do not fit the established width and aspect ratio criteria for cleavage
fragments in the scientific published literature. EPA, which has extensively studied the
asbestos problems resulting from Libby vermiculite, has reviewed and rejected Dr, Lee’s
opinions regarding Cleavage fragments as being “without any factual foundation.”
Finally, a recent government audit has found Dr Lee’s laboratory to engage in
questionable practices.

Because Dr. Lee’s opinions are unsupported by the facts of this case and the

consensus of the scientific community, his opinions do not meet the requirements of

Id. at 1-2 (emphasis added),

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Daubert and Rule 702. For these reasons, Dr. Lee’s opinions regarding cleavage

fragments are inadmissible as a matter of law.

RESPECTFULLY SUBMIT TED,

LL NEE

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